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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MARVIN A. JOHNSON                                :    CIVIL ACTION
                                                 :
                v.                               :
                                                 :
MICHAEL C. BARONE                                :    NO. 10-839


                                            ORDER

                AND NOW, this 6th day of June, 2011, it appearing that:

     a. By Order of March 22, 2010, petitioner’s application to proceed in forma
        pauperis was granted.

     b. By Memorandum and Order of May 3, 2011, entered on the docket May 4,
        2011, petitioner’s request for habeas corpus relief was denied and this court
        declined to issue a certificate of appealability.

     c. On June 3, 2011, petitioner filed a notice of appeal and petitioned this court
        for continuation of his in forma pauperis status on appeal.

It is therefore ORDERED that petitioner’s request (paper no. 24) is GRANTED for the purposes

of appeal.




                                                     /s/ Norma L. Shapiro
                                                                                          J.
